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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


  Southern
 ____________________              Texas
                      District of _________________
                                        (State)
 Case number (If known): _________________________ Chapter _____                                                                     Check if this is an
                                                                                                                                        amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               Scarlet InfoTech, Inc., d/b/a Expedien, Inc.
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                   0 1       0 6 4 1 8 3 2
                                              ___ ___ – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                  Mailing address, if different from principal place
                                                                                                           of business

                                                  5100 Westheimer Road
                                              ______________________________________________
                                                                                                          13710    Slate Creek Lane
                                                                                                          _______________________________________________
                                              Number     Street                                            Number      Street

                                                  Suite 200
                                              ______________________________________________               _______________________________________________
                                                                                                           P.O. Box

                                                  Houston, Texas 77056
                                              ______________________________________________                Houston, Texas 77072
                                                                                                           _______________________________________________
                                              City                        State    ZIP Code                City                      State      ZIP Code


                                                                                                           Location of principal assets, if different from
                                                                                                           principal place of business
                                              Harris
                                              ______________________________________________
                                              County                                                       _______________________________________________
                                                                                                           Number     Street

                                                                                                           _______________________________________________

                                                                                                           _______________________________________________
                                                                                                           City                      State      ZIP Code




 5.   Debtor’s website (URL)                  ____________________________________________________________________________________________________




Official Form 201                                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
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Debtor        Scarlet InfoTech, Inc. dba Expedien, Inc.
              _______________________________________________________                         Case number (if known)_____________________________________
              Name




 6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              5 ___
                                             ___ 4 ___
                                                    1 ___
                                                       6
 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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Debtor
                Scarlet InfoTech, Inc. dba Expedien, Inc.
                _______________________________________________________                      Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases         No
       filed by or against the debtor
       within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY

 10.   Are any bankruptcy cases            No
       pending or being filed by a
       business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
       affiliate of the debtor?                     District _____________________________________________ When               __________________
       List all cases. If more than 1,                                                                                        MM / DD / YYYY
       attach a separate list.                      Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have         No
       possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                      Other _______________________________________________________________________________



                                                   Where is the property?_____________________________________________________________________
                                                                             Number          Street

                                                                             ____________________________________________________________________

                                                                             _______________________________________         _______ ________________
                                                                             City                                            State ZIP Code


                                                   Is the property insured?
                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________

                                                            Contact name     ____________________________________________________________________

                                                            Phone            ________________________________




               Statistical and administrative information




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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                 RESOLUTION OF THE BOARD OF DIRECTORS
                       OF SCARLET INFOTECH, INC

        WHEREAS, the board of directors (the “Board”) has reviewed the financial
situation of Scarlet InfoTech, Inc. d/b/a Expedien, Inc., a Delaware corporation
(“Company”), and discussed alternatives for continued operation of the Company as a
going concern; and


        WHEREAS, the Board has determined that it is in the best interest of the Company,
its creditors, stockholders, employees, and other interested parties, that the Company wind
down its business affairs; and


        WHEREAS, the Board has been advised by counsel to the Company regarding the
various methods available to the Company for winding down its business affairs, including
relief under Title 11 of the United States Code (the “Bankruptcy Code”), assignment for
the benefit of creditors, or settlement of claims with individual creditors of the Company;
and


       WHEREAS, the Board has determined that filing a voluntary petition for relief
under the provisions of Chapter 7 of the Bankruptcy Code is the best way for the Company
to wind down its business affairs based on the Board’s analysis of the costs of each of the
other alternatives and management’s recommendations with respect thereto.


       NOW THEREFORE IT IS RESOLVED that, in the judgment of the Board, it is
desirable and in the best interest of the Company, its creditors, stockholders, employees,
and other interested parties, that the Company commence a Chapter 7 case by filing a
voluntary petition for relief under the provisions of Chapter 7 of the Bankruptcy Code; and
it is


       FURTHER RESOLVED that Jitendra Agarwal, the President of the Company (the
“Authorized Officer”) be, and hereby is, authorized and empowered on behalf of, and in
the name of, the Company to execute and verify or certify a petition under Chapter 7 of the
Bankruptcy Code and to cause the same to be filed in the United States Bankruptcy Court
for the District of Texas in which the principal executive offices of the Company are
located (the “Bankruptcy Court”) at such time as said authorized officer executing the same
shall determine; and it is
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FURTHER RESOLVED that it is acknowledged and agreed that the actual filing of a
voluntary petition for relief under the provisions of Chapter 7 of the Bankruptcy Code is
subject to the consent of the shareholders of Company, and that a copy of these resolutions
shall immediately be transmitted to each such shareholder along with recommendation of
the Board as to the actions to be taken.
                      [Remainder of Page Intentionally Left Blank]
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 Fill in this information to identify the case:

               Scarlet InfoTech, Inc. d/b/a Expedien,
 Debtor name ____________________________       _____ Inc.
                                                        _____ _____ ______ _____ _____ _____ _

                                            Southern
 United States Bankruptcy Court f or the: _______________________             Texas
                                                                  District of ________
                                                                                                                 (State)
 Case number (If known):              _________________________


                                                                                                                                                                                                 Check if this is an
                                                                                                                                                                                                   amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                         12/15




Part 1:          Summary of Assets


1.   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a.   Real property:
                                                                                                                                                                                                   0.00
                                                                                                                                                                                                $ ________________
           Copy line 88 from Schedule A/B .....................................................................................................................................

     1b.   Total personal property:                                                                                                                                                                162,011.94
                                                                                                                                                                                                  138,334.64
                                                                                                                                                                                                $ ________________
           Copy line 91A from Schedule A/B...................................................................................................................................

     1c. Total of all property:                                                                                                                                                                   138,334.64
                                                                                                                                                                                                   162,011.94
                                                                                                                                                                                                $ ________________
           Copy line 92 from Schedule A/B .....................................................................................................................................




Part 2:          Summary of Liabilities




2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D..............................................                                                     0.00
                                                                                                                                                                                                $ ________________


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a.   Total claim am ounts of priority unsecured claim s:
                                                                                                                                                                                                    0.00
                                                                                                                                                                                                $ ________________
           Copy the total claims from Part 1 from line 5a of Schedule E/F ....................................................................................

     3b.   Total am ount of claims of nonpriority am ount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .........................................................                                        +     44,585,301.61
                                                                                                                                                                                                $ ________________




4.   Total liabilities...................................................................................................................................................................
                                                                                                                                                                                                  44,585,301.61
                                                                                                                                                                                                $ ________________
     Lines 2 + 3a + 3b




 Official Form 206Sum                                       Sum m ary of Assets and Liabilities for Non-Individuals                                                                                  page 1
                        Case 21-33094 Document 1 Filed in TXSB on 09/20/21 Page 12 of 53
  Fill in this information to identify the case:

                 Scarlet InfoTech, Inc., d/b/a Expedien, Inc.
  Debtor name __________________________________________________________________

                                           Southern                         TX
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                             (State)
  Case number (If known):     _________________________                                                                               Check if this is an
                                                                                                                                         amended filing


Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                  12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.


For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:     Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

         No. Go to Part 2.
         Yes. Fill in the information below.

    All cash or cash equivalents owned or controlled by the debtor                                                                 Current value of debtor’s
                                                                                                                                   interest

2. Cash on hand                                                                                                                   $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

   Name of institution (bank or brokerage firm)                Type of account                  Last 4 digits of account number
        Wells Fargo                                             Checking
   3.1. _________________________________________________ ______________________                9      1      6 0
                                                                                                ____ ____ ____ ____                 134,193.03
                                                                                                                                  $______________________
        Wells Fargo                                             Savings
   3.2. _________________________________________________ ______________________                7      2       0 8
                                                                                                ____ ____ ____ ____                  0
                                                                                                                                  $______________________
        Allegiance                                              Checking                        6      1       2 4                $1,045.61
4. Other cash equivalents (Identify all)
   4.1. _____________________________________________________________________________________________________                     $______________________
   4.2. _____________________________________________________________________________________________________                     $______________________

5. Total of Part 1                                                                                                                  135,238.64
                                                                                                                                  $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Part 2:     Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

         No. Go to Part 3.
         Yes. Fill in the information below.
                                                                                                                                    Current value of
                                                                                                                                    debtor’s interest
7. Deposits, including security deposits and utility deposits

   Description, including name of holder of deposit

         N/A
   7.1. ________________________________________________________________________________________________________                     0.00
                                                                                                                                   $______________________
   7.2._________________________________________________________________________________________________________                   $_______________________


  Official Form 206A/B                                    Schedule A/B: Assets  Real and Personal Property                                    page 1
                     Case 21-33094 Document 1 Filed in TXSB on 09/20/21 Page 13 of 53
Debtor
               Scarlet   InfoTech, Inc., d/b/a Expedien, Inc.
               _______________________________________________________ Case number (if known)_____________________________________
               Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
   Description, including name of holder of prepayment
         Hartford Insurance
   8.1.___________________________________________________________________________________________________________                  3,096.00
                                                                                                                                  $______________________
   8.2.___________________________________________________________________________________________________________                $_______________________


                                                                                                                                 $3,096.00
9. Total of Part 2.
                                                                                                                                  ______________________
   Add lines 7 through 8. Copy the total to line 81.



Part 3:    Accounts receivable

10. Does the debtor have any accounts receivable?

     No. Go to Part 4.
     Yes. Fill in the information below.
                                                                                                                                  Current value of debtor’s
                                                                                                                                  interest
11. Accounts receivable

    11a. 90 days old or less:     $79,162.76
                                 ____________________________ – ___________________________          = ........                  79,162.76
                                                                                                                                 $______________________
                                  face amount                   doubtful or uncollectible accounts

    11b. Over 90 days old:        $232,621.00
                                  ___________________________ – ___________________________          = ........                   Unknown
                                                                                                                                 $______________________
                                   face amount                  doubtful or uncollectible accounts


12. Total of Part 3                                                                                                                Unknown
                                                                                                                                 $______________________
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Part 4:    Investments

13. Does the debtor own any investments?
     No. Go to Part 5.
     Yes. Fill in the information below.
                                                                                                        Valuation method          Current value of debtor’s
                                                                                                        used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
   Name of fund or stock:
   14.1. ________________________________________________________________________________               _____________________    $________________________
   14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

   Name of entity:                                                                 % of ownership:
   15.1._______________________________________________________________            ________%            _____________________    $________________________
   15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
 Describe:
   16.1.________________________________________________________________________________                ______________________   $_______________________
   16.2.________________________________________________________________________________                ______________________   $_______________________



17. Total of Part 4                                                                                                                0.00
                                                                                                                                 $______________________
    Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                 page 2
                    Case 21-33094 Document 1 Filed in TXSB on 09/20/21 Page 14 of 53
Debtor          Scarlet InfoTech, Inc. d/b/a Expedien, Inc.
                _______________________________________________________
                                                             Case number (if known)_____________________________________
                Name




Part 5:    Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
     No. Go to Part 6.
     Yes. Fill in the information below.
     General description                            Date of the last      Net book value of     Valuation method used     Current value of
                                                    physical inventory    debtor's interest     for current value         debtor’s interest
                                                                          (Where available)
19. Raw materials
   ________________________________________         ______________                                                       $______________________
                                                    MM / DD / YYYY
                                                                         $__________________    ______________________

20. Work in progress
   ________________________________________         ______________                                                       $______________________
                                                    MM / DD / YYYY
                                                                         $__________________    ______________________

21. Finished goods, including goods held for resale
   ________________________________________         ______________                                                       $______________________
                                                    MM / DD / YYYY
                                                                          $__________________   ______________________

22. Other inventory or supplies
   ________________________________________         ______________                                                       $______________________
                                                    MM / DD / YYYY
                                                                         $__________________    ______________________


23. Total of Part 5                                                                                                        0.00
                                                                                                                         $______________________
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
         No
         Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

         No
         Yes. Book value _______________        Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
         No
         Yes

Part 6:    Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
     No. Go to Part 7.
     Yes. Fill in the information below.
      General description                                                 Net book value of     Valuation method used     Current value of debtor’s
                                                                          debtor's interest     for current value         interest
                                                                          (Where available)
28. Crops—either planted or harvested
   ______________________________________________________________          $________________     ____________________    $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish
   ______________________________________________________________          $________________     ____________________    $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)
   ______________________________________________________________          $________________     ____________________    $______________________

31. Farm and fishing supplies, chemicals, and feed

   ______________________________________________________________          $________________     ____________________    $______________________

32. Other farming and fishing-related property not already listed in Part 6

   ______________________________________________________________          $________________     ____________________    $______________________


Official Form 206A/B                                      Schedule A/B: Assets  Real and Personal Property                           page 3
                    Case 21-33094 Document 1 Filed in TXSB on 09/20/21 Page 15 of 53
Debtor
              Scarlet   InfoTech, Inc. d/b/a Expedien, Inc.
              _______________________________________________________ Case number (if known)_____________________________________
               Name




33. Total of Part 6.                                                                                                          0.00
                                                                                                                            $______________________
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

     No
     Yes. Is any of the debtor’s property stored at the cooperative?
       No
       Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

     No
     Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

     No
     Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

     No
     Yes

Part 7:    Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes. Fill in the information below.

   General description                                                        Net book value of    Valuation method          Current value of debtor’s
                                                                              debtor's interest    used for current value    interest
                                                                              (Where available)

39. Office furniture
   ______________________________________________________________              $________________   ____________________     $______________________

40. Office fixtures

   ______________________________________________________________              $________________   ____________________     $______________________

41. Office equipment, including all computer equipment and
    communication systems equipment and software
   ______________________________________________________________              $________________   ____________________     $______________________

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles
   42.1___________________________________________________________             $________________    ____________________    $______________________
   42.2___________________________________________________________             $________________    ____________________    $______________________
   42.3___________________________________________________________             $________________    ____________________    $______________________

43. Total of Part 7.
                                                                                                                             0.00
                                                                                                                            $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     No
     Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

     No
     Yes

Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                            page 4
                    Case
                Scarlet    21-33094
                        InfoTech, Inc. Document  1 Filed
                                       d/b/a Expedien, Inc.in TXSB on 09/20/21 Page 16 of 53
 Debtor         _______________________________________________________                    Case number (if known)_____________________________________
                Name




Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes. Fill in the information below.

   General description                                                     Net book value of      Valuation method used        Current value of
                                                                           debtor's interest      for current value            debtor’s interest
   Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
   HIN, or N-number)


47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

   47.1___________________________________________________________          $________________      ____________________       $______________________

   47.2___________________________________________________________          $________________      ____________________       $______________________

   47.3___________________________________________________________          $________________      ____________________       $______________________

   47.4___________________________________________________________          $________________      ____________________       $______________________


48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

   48.1__________________________________________________________          $________________       ____________________       $______________________

   48.2__________________________________________________________          $________________       ____________________       $______________________

49. Aircraft and accessories

   49.1__________________________________________________________          $________________       ____________________       $______________________

   49.2__________________________________________________________          $________________       ____________________       $______________________

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

   ______________________________________________________________          $________________       ____________________       $______________________


51. Total of Part 8.                                                                                                            0.00
                                                                                                                              $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
         No
         Yes




 Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                                page 5
                      Case 21-33094 Document 1 Filed in TXSB on 09/20/21 Page 17 of 53
Debtor
                Scarlet   InfoTech, Inc. d/b/a Expedien, Inc.
                _______________________________________________________ Case number (if known)_____________________________________
                Name




Part 9:    Real property

54. Does the debtor own or lease any real property?
     No. Go to Part 10.
     Yes. Fill in the information below.
55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

    Description and location of property                   Nature and extent      Net book value of    Valuation method used    Current value of
    Include street address or other description such as    of debtor’s interest   debtor's interest    for current value        debtor’s interest
    Assessor Parcel Number (APN), and type of property     in property            (Where available)
    (for example, acreage, factory, warehouse, apartment
    or office building), if available.
    55.1________________________________________            _________________     $_______________     ____________________     $_____________________

    55.2________________________________________            _________________     $_______________     ____________________     $_____________________

    55.3________________________________________            _________________     $_______________     ____________________     $_____________________

    55.4________________________________________            _________________     $_______________     ____________________     $_____________________

    55.5________________________________________            _________________     $_______________     ____________________     $_____________________

    55.6________________________________________            _________________     $_______________     ____________________     $_____________________


56. Total of Part 9.                                                                                                             0.00
                                                                                                                                $_____________________
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
         No
         Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
         No
         Yes

Part 10: Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
     No. Go to Part 11.
     Yes. Fill in the information below.
   General description                                                           Net book value of    Valuation method         Current value of
                                                                                  debtor's interest    used for current value   debtor’s interest
                                                                                  (Where available)
60. Patents, copyrights, trademarks, and trade secrets
    ______________________________________________________________                $_________________   ______________________   $____________________

61. Internet domain names and websites
    ______________________________________________________________                $_________________   ______________________    $____________________

62. Licenses, franchises, and royalties
    ______________________________________________________________                $_________________   ______________________    $____________________

63. Customer lists, mailing lists, or other compilations
    ______________________________________________________________                $_________________   ______________________    $____________________

64. Other intangibles, or intellectual property
    ______________________________________________________________                 $________________   _____________________    $____________________
65. Goodwill
    ______________________________________________________________                 $________________   _____________________    $____________________

66. Total of Part 10.                                                                                                             0.00
                                                                                                                                $____________________
    Add lines 60 through 65. Copy the total to line 89.




Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                            page 6
                    Case 21-33094 Document 1 Filed in TXSB on 09/20/21 Page 18 of 53
Debtor
                Scarlet InfoTech, Inc. d/b/a Expedien, Inc.
                _______________________________________________________
                                                             Case number (if known)_____________________________________
                Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
        No
        Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
        No
        Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
        No
        Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
         No. Go to Part 12.
         Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                     debtor’s interest
71. Notes receivable
    Description (include name of obligor)
                                                                    _______________     –   __________________________         =   $_____________________
    ______________________________________________________
                                                                    Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

    Description (for example, federal, state, local)

    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                  $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                  $_______________________
    Nature of claim                   ___________________________________

    Amount requested                  $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                  $_______________________

    Nature of claim                   ___________________________________

    Amount requested                  $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                   $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   Future    amounts due under two contracts with Quanta AI, LLC.
   ____________________________________________________________                                                                       Unknown
                                                                                                                                    $_____________________
   ____________________________________________________________                                                                     $_____________________

78. Total of Part 11.
                                                                                                                                     Unknown
                                                                                                                                    $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
        No
        Yes

Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                   page 7
                      Case
                  Scarlet    21-33094
                          InfoTech, Inc., Document  1 Filed
                                          d/b/a Expedien, Inc.in TXSB on 09/20/21 Page 19 of 53
Debtor            _______________________________________________________                                                 Case number (if known)_____________________________________
                  Name




Part 12:         Summary



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                               Current value of                          Current value
                                                                                                      personal property                         of real property

80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.
                                                                                                          135,238.64
                                                                                                         $_______________


81. Deposits and prepayments. Copy line 9, Part 2.
                                                                                                          3,096.00
                                                                                                         $_______________


82. Accounts receivable. Copy line 12, Part 3.                                                             Unknown
                                                                                                         $_______________


83. Investments. Copy line 17, Part 4.
                                                                                                          0.00
                                                                                                         $_______________


84. Inventory. Copy line 23, Part 5.
                                                                                                           0.00
                                                                                                         $_______________


85. Farming and fishing-related assets. Copy line 33, Part 6.
                                                                                                           0.00
                                                                                                         $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                            0.00
                                                                                                         $_______________
     Copy line 43, Part 7.

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.
                                                                                                           0.00
                                                                                                         $_______________


88. Real property. Copy line 56, Part 9. . .....................................................................................                 0.00
                                                                                                                                                $________________

                                                                                                            0.00
                                                                                                         $_______________
89. Intangibles and intellectual property. Copy line 66, Part 10.

90. All other assets. Copy line 78, Part 11.                                                        +    $_______________


                                                                                                         $138,334.64                             Unknown
91. Total. Add lines 80 through 90 for each column. ............................ 91a.                     _______________
                                                                                                                                     +   91b.
                                                                                                                                                $________________




92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ..............................................................................................       138,334.64
                                                                                                                                                                    $__________________




Official Form 206A/B                                                       Schedule A/B: Assets  Real and Personal Property                                                page 8
                           Case 21-33094 Document 1 Filed in TXSB on 09/20/21 Page 20 of 53
  Fill in this information to identify the case:

                 Scarlet InfoTech, Inc. d/b/a Expedien, Inc.
  Debtor name __________________________________________________________________
                                          Southern
  United States Bankruptcy Court for the: ______________________              TX
                                                                 District of _________
                                                                                        (State)

  Case number (If known):      _________________________
                                                                                                                                                      Check if this is an
                                                                                                                                                         amended filing
  Official Form 206D
  Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
  Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
     No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
     Yes. Fill in all of the information below.
 Part 1:       List Creditors Who Have Secured Claims
                                                                                                                                Column A                Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
2.1 Creditor’s name                             Describe debtor’s property that is subject to a lien
      N/A
     __________________________________________
                                                                ___________________________________________________ $__________________                 $_________________

    Creditor’s mailing address                                  ___________________________________________________

     ________________________________________________________   ___________________________________________________
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                   No
                                                                   Yes

    Date debt was incurred __________________                   Is anyone else liable on this claim?
    Last 4 digits of account
                                                                   No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.
     No                                                           Contingent
     Yes. Specify each creditor, including this creditor,         Unliquidated
             and its relative priority.                            Disputed
             ___________________________________
             ___________________________________

2.2 Creditor’s name                             Describe debtor’s property that is subject to a lien
      N/A
     __________________________________________                 ___________________________________________________ $__________________                 $_________________

    Creditor’s mailing address                                  ___________________________________________________
     ________________________________________________________   ___________________________________________________
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                   No
                                                                   Yes

    Date debt was incurred __________________                   Is anyone else liable on this claim?
    Last 4 digits of account
                                                                   No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
             priority?                                             Disputed
            No. Specify each creditor, including this
                  creditor, and its relative priority.
                  _________________________________
                  _________________________________
            Yes. The relative priority of creditors is
                  specified on lines _____

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                   0.00
                                                                                                                                 $________________
    Page, if any.


   Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                              page 1 of ___
                          Case 21-33094 Document 1 Filed in TXSB on 09/20/21 Page 21 of 53
Debtor          Scarlet   InfoTech, Inc. d/b/a Expedien, Inc.
                _______________________________________________________                                                  Case number (if known)_____________________________________
                 Name



Part 2:      List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                                     On which line in Part 1     Last 4 digits of
         Name and address
                                                                                                                                     did you enter the           account number
                                                                                                                                     related creditor?           for this entity
     N/A
    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                  ___ ___ ___ ___
    ____________________________________________________________________________


Form 206D                                Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                               page ___ of ___
                            Case 21-33094 Document 1 Filed in TXSB on 09/20/21 Page 22 of 53
   Fill in this information to identify the case:

   Debtor        Scarlet     InfoTech, Inc. d/b/a Expedien, Inc.
                 __________________________________________________________________
                                           Southern
   United States Bankruptcy Court for the: ______________________               TX
                                                                  District of __________
                                                                                              (State)
   Case number       ___________________________________________
    (If known)

                                                                                                                                                   Check if this is an
                                                                                                                                                     amended filing
  Official Form 206E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                             12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Part 1:         List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
        No. Go to Part 2.
        Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                       Total claim                Priority amount
2.1 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
      N/A
     __________________________________________________________________   Check all that apply.
    ___________________________________________                              Contingent
                                                                             Unliquidated
    ___________________________________________                              Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.2 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                              Contingent
                                                                             Unliquidated
    ___________________________________________                              Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.3 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                              Contingent
                                                                             Unliquidated
    ___________________________________________                              Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)




  Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                  5
                                                                                                                                                       page 1 of ___
  Debtor
                Scarlet
                      CaseInfoTech,
                              21-33094  Inc. d/b/a
                                              DocumentExpedien,
                                                             1 FiledInc.in TXSB onCase
                _______________________________________________________
                                                                                   09/20/21 Page 23 of 53
                                                                                       number (if known)_____________________________________
                Name


 Part 2:    List All Creditors with NONPRIORITY Unsecured Claims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim

3.1 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                                                                             223,963.61
                                                                                                                           $________________________________
     SBA                                                                   Check all that apply.
    ____________________________________________________________
                                                                              Contingent
    409 3rd St., SW.                                                          Unliquidated
    ____________________________________________________________              Disputed
     Washington, DC 20416
    ____________________________________________________________
                                                                                                 PPP
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            02/03/2021
                                               ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            8 ___
                                               ___ 3 ___
                                                      0 ___
                                                         2                    Yes


                                                                                                                             Unknown
3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                                                                           $________________________________
     Karya Property Management                                             Check all that apply.
    ____________________________________________________________
                                                                              Contingent
     8901 Gaylord Dr.                                                         Unliquidated
    ____________________________________________________________              Disputed
     Houston, TX 77024
    ____________________________________________________________
                                                                                                 Indemnity
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            12/19/2017
                                               ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number             N/A
                                               ___ ___ ___ ___                Yes

3.3 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:     44,000,000.00
                                                                                                                           $________________________________
    Resman,    LLC                                                         Check all that apply.
    ____________________________________________________________
                                                                              Contingent
    2901  Dallas Parkway, #200                                                Unliquidated
    ____________________________________________________________              Disputed
    Plano,  TX 75093
    ____________________________________________________________
                                                                                                Judgment
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            8/12/2021
                                               ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            N/A
                                               ___ ___ ___ ___                Yes

3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:     360,000.00
     JRRV, LP
    ____________________________________________________________
                                                                           Check all that apply.                           $________________________________
                                                                              Contingent
     13710 Slate Creek Lane                                                   Unliquidated
    ____________________________________________________________              Disputed
    Houston, TX 77077
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred             2019 - 2021
                                               ___________________         Is the claim subject to offset?
                                                                           
                                                 N/A
                                                                               No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:     1,289.00
     Hartford Insurance
    ____________________________________________________________
                                                                           Check all that apply.                           $________________________________
                                                                              Contingent
     1 Penn Plaza, Floor 50
    ____________________________________________________________
                                                                              Unliquidated
                                                                              Disputed
    New York, NY 10119
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            8/25/2021
                                               ___________________         Is the claim subject to offset?
                                                                           
                                                9 ___
                                                   2 ___
                                                      1 ___
                                                         4
                                                                               No
    Last 4 digits of account number            ___                            Yes

3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:     49.00
                                                                                                                           $________________________________
 Delaware Corporate Headquarters LLC, d/b/a A Registered Agent, Inc. Check all that apply.
    ____________________________________________________________
                                                                              Contingent
     8 The Green, Ste. A
    ____________________________________________________________
                                                                              Unliquidated
                                                                              Disputed
     Dover, DE 19901
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes



    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                                   2 of ___
                                                                                                                                                  page __   5
  Debtor
               Scarlet
                     CaseInfoTech,
                             21-33094  Inc. d/b/a
                                             DocumentExpedien,
                                                            1 FiledInc.in TXSB onCase
               _______________________________________________________
                                                                                  09/20/21 Page 24 of 53
                                                                                      number (if known)_____________________________________
               Name



 Part 2:    Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


  7
3.__ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                      Unknown
       Department of Treasury                                     Check all that apply.                              $________________________________
      ___________________________________________________________  Contingent
                                                                        Unliquidated
      Interal Revenue Service                                           Disputed
      ___________________________________________________________       Liquidated and neither contingent nor
      Austin, TX 73301-0002
      ___________________________________________________________        disputed
                                                                                          2021 Taxes
                                                                     Basis for the claim: ________________________

      Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                        No
      Last 4 digits of account number         ___ ___ ___ ___           Yes



  8 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:    Unknown
       Texas Comptroller of Public Accounts                          Check all that apply.                           $________________________________
      ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
       P.O. Box 13528, Capitol Station
      ___________________________________________________________       Disputed
       Austin, TX 78711-3528
      ___________________________________________________________                         2021 Taxes
                                                                     Basis for the claim: ________________________

      Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                        No
      Last 4 digits of account number         ___ ___ ___ ___           Yes


  9 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:    Unknown
       State of California Franchise Tax Board                       Check all that apply.                           $________________________________
      ___________________________________________________________
                                                                        Contingent
                                                                     
       P.O. Box 942840
                                                                         Unliquidated
      ___________________________________________________________       Disputed
      Sacramento, CA 94240-0001
      ___________________________________________________________
                                                                                             2021 Taxes
                                                                     Basis for the claim: ________________________

      Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                        No
      Last 4 digits of account number         ___ ___ ___ ___           Yes


3.__ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.                           $________________________________
      ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      ___________________________________________________________       Disputed
      ___________________________________________________________
                                                                     Basis for the claim: ________________________

      Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                        No
      Last 4 digits of account number         ___ ___ ___ ___           Yes



3.__ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.                           $________________________________
      ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
      ___________________________________________________________       Disputed
      ___________________________________________________________
                                                                     Basis for the claim: ________________________

      Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                        No
      Last 4 digits of account number         ___ ___ ___ ___           Yes




   Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                           page __   5
                                                                                                                                                 3 of ___
  Debtor
                     Scarlet
                           CaseInfoTech,
                                   21-33094  Inc. d/b/a
                                                   DocumentExpedien,
                                                                  1 FiledInc.in TXSB onCase
                     _______________________________________________________
                                                                                        09/20/21 Page 25 of 53
                                                                                            number (if known)_____________________________________
                     Name



Part 3:              List Others to Be Notified About Unsecured Claims


4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



            Name and mailing address                                                                           On which line in Part 1 or Part 2 is the   Last 4 digits of
                                                                                                               related creditor (if any) listed?          account number, if
                                                                                                                                                          any

4.1.       Allegiance Bank
         ___________________________________________________________________________________________________
                                                                                                               Line 3.1
                                                                                                                    _____
          2401 Eldridge Parkway S
         _________________________________________________________________                                        Not listed. Explain ________________    8 ___
                                                                                                                                                          ___ 3 ___
                                                                                                                                                                 0 ___
                                                                                                                                                                    2
          Houston, TX 77077
         _________________________________________________________________                                         _________________________________

4.2.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.3.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.4.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

41.                                                                                                            Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.5.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.6.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.7.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.8.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.9.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.10.                                                                                                          Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.11.
                                                                                                               Line _____

                                                                                                               
         ___________________________________________________________________________________________________
                                                                                                                   Not listed. Explain ________________   ___ ___ ___ ___
         _________________________________________________________________
                                                                                                                   _________________________________
         _________________________________________________________________




       Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 page __   5
                                                                                                                                                                        4 of ___
 Debtor
                Scarlet
                   Case InfoTech,
                          21-33094Inc.Document
                                      d/b/a Expedien, Inc.in TXSB onCase
                                                1 Filed              09/20/21 Page 26 of 53
               _______________________________________________________   number (if known)_____________________________________
               Name



Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                       Total of claim amounts



5a. Total claims from Part 1                                                                 5a.
                                                                                                        0.00
                                                                                                       $_____________________________




5b. Total claims from Part 2                                                                 5b.   +    44,585,301.61
                                                                                                       $_____________________________




5c. Total of Parts 1 and 2
                                                                                             5c.
                                                                                                         44,585,301.61
                                                                                                       $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                      5 of ___
                                                                                                                                page __    5
                       Case 21-33094 Document 1 Filed in TXSB on 09/20/21 Page 27 of 53

 Fill in this information to identify the case:

                 Scarlet InfoTech, Inc. d/b/a Expedien, Inc.
 Debtor name __________________________________________________________________

                                         Southern
 United States Bankruptcy Court for the:______________________ District of
                                                                               TX
                                                                               _______
                                                                              (State)
 Case number (If known):    _________________________                Chapter _____



                                                                                                                                         Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease


         State what the contract or
                                          Subcontract  Agreement
                                          ____________________________________            Cybersoft  Technologies, Inc
                                                                                          _________________________________________________________
 2.1     lease is for and the nature
                                          ____________________________________            4422  Cypress  Creek Pkwy.
                                                                                          _________________________________________________________
         of the debtor’s interest
                                                                                          Houston,  TX 77068
                                                                                          _________________________________________________________
         State the term remaining         Expired
                                          ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or
                                           Subcontract Agreement
                                          ____________________________________
                                                                                             Appridat Solutions LLC
                                                                                           _________________________________________________________
 2.2     lease is for and the nature
                                          ____________________________________               5655 Peachtree Pkwy., Suite #207
                                                                                           _________________________________________________________
         of the debtor’s interest
                                                                                            Peachtree Corners, GA 30092
                                                                                           _________________________________________________________
         State the term remaining         Expired
                                          ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________

                                          Supplier Agreement                                Hicks Consulting Group, Inc.
         State what the contract or       ____________________________________             _________________________________________________________
 2.3     lease is for and the nature
                                          ____________________________________
                                                                                           1630 N. Main Street, Suite 216
                                                                                           _________________________________________________________
         of the debtor’s interest
                                                                                           Walnut Creek, California 94596
                                                                                           _________________________________________________________
         State the term remaining        12 monthson work orders
                                         Contingent
                                         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


                                          Services  Agreement                              SVB Financial Group
         State what the contract or       ____________________________________             _________________________________________________________
 2.4
         lease is for and the nature
         of the debtor’s interest         ____________________________________              3003 Tasman Drive
                                                                                           _________________________________________________________
                                                                                            Santa Clara, California 95054
         State the term remaining
                                           4 months
                                          ____________________________________
                                                                                           _________________________________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________

                                           MSP Participation Agreement                     TAPFIN Process Solutions
         State what the contract or       ____________________________________             _________________________________________________________
 2.5     lease is for and the nature
                                          ____________________________________             100 Manpower Place
                                                                                           _________________________________________________________
         of the debtor’s interest
                                                                                           Milwaukee,   WI 53212
         State the term remaining
                                          Contingent to work orders
                                          ____________________________________
                                                                                           _________________________________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________




Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                                        4
                                                                                                                                              page 1 of ___
                      Case 21-33094 Document 1 Filed in TXSB on 09/20/21 Page 28 of 53

Debtor
              Scarlet   InfoTech, Inc. d/b/a Expedien, Inc.
              _______________________________________________________                 Case number (if known)_____________________________________
               Name




          Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

       List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired lease


                                       Subcontract Agreement                    SAIPSIT, Inc.
         State what the contract or    ____________________________________     _________________________________________________________
   6
 2._     lease is for and the nature                                           1_________________________________________________________
                                                                                0998 S Wilcrest Dr. #123
         of the debtor’s interest      ____________________________________
                                                                                Houston,  Texas 77099
                                                                                _________________________________________________________
         State the term remaining      Expired
                                       ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


                                       Subcontract Agreement                    Corpteq  Solutions Inc.
         State what the contract or    ____________________________________     _________________________________________________________
   7
 2._     lease is for and the nature                                            1255 Peachtree Parkway, Suite #4104
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                Cumming, GA 30041
         State the term remaining
                                       Expired
                                       ____________________________________
                                                                                _________________________________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


                                       Subcontract Agreement                    United Software Corporation
         State what the contract or    ____________________________________     _________________________________________________________
  8
 2._     lease is for and the nature                                            6200 La Calma Dr. #115
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                Austin, Texas 78752
         State the term remaining
                                       Expired
                                       ____________________________________
                                                                                _________________________________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    Subcontract  Agreement
                                       ____________________________________     Shinewell Technologies Inc.
                                                                                _________________________________________________________
  9
 2._     lease is for and the nature                                            22710 Haggerty Road, Suite 132
         of the debtor’s interest      ____________________________________     _________________________________________________________

                                       Expired                                  Farmington Hills, MI 48335
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


                                       Subcontract Agreement                    Karwell Technologies, Inc.
         State what the contract or    ____________________________________     _________________________________________________________
   10
 2._     lease is for and the nature                                            285 Durham Ave., Suite 11
         of the debtor’s interest      ____________________________________     _________________________________________________________

                                       Expired                                  South Plainfield, NJ 07080
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________

                                       Subcontract Agreement                    V3Tech Solutions, Inc.
         State what the contract or    ____________________________________     _________________________________________________________
  11
 2._     lease is for and the nature
                                       ____________________________________     113 Executive Pointe Blvd., Suite 201
                                                                                _________________________________________________________
         of the debtor’s interest
                                                                                Columbia, SC 29210
                                                                                _________________________________________________________
         State the term remaining      Expired
                                       ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________

                                       Vendor contract                          Kwanzatech, Inc
         State what the contract or    ____________________________________     _________________________________________________________
  12
 2._     lease is for and the nature                                            7435 Little River Tpke, Suite #103
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                Annandale,  VA 22003
                                                                                _________________________________________________________
         State the term remaining      Expired
                                       ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



 Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                                         2 of ___
                                                                                                                                 page ___   4
                      Case 21-33094 Document 1 Filed in TXSB on 09/20/21 Page 29 of 53

Debtor         Scarlet   InfoTech, Inc. d/b/a Expedien, Inc.
               _______________________________________________________                Case number (if known)_____________________________________
               Name




          Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

     List all contracts and unexpired leases                                   State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired lease


         State what the contract or     Vendor contract
                                       ____________________________________     Euclid Elementz, Inc.
                                                                                _________________________________________________________
  13 lease is for and the nature
 2._
                                       ____________________________________     1000, Rt 9 North, Suite 303
                                                                                _________________________________________________________
         of the debtor’s interest
                                                                                Woodbridge, NJ, 07095
         State the term remaining
                                       Expired
                                       ____________________________________
                                                                                _________________________________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



         State what the contract or
                                        Vendor contract
                                       ____________________________________     Morlogic Inc.
                                                                                _________________________________________________________
   14 lease is for and the nature
 2._
                                                                                 2500 Packard St., Ste. 201
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                Ann Arbor, MI, 48104
                                                                                _________________________________________________________
         State the term remaining       Expired
                                       ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



         State what the contract or    Vendor contract
                                       ____________________________________     44 Islands Co.
                                                                                _________________________________________________________
   15 lease is for and the nature
 2._                                                                            442 Brady Lane
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                West Lake Hills, TX 78746
                                                                                _________________________________________________________
         State the term remaining       Expired
                                       ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    Vendor contract
                                       ____________________________________     GETLOB Private Limited
                                                                                _________________________________________________________
  16
 2._     lease is for and the nature                                            Mythris The Town, F.No. B-102
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                Shaili garden, Yapral – 500087
         State the term remaining
                                       Expired
                                       ____________________________________
                                                                                _________________________________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



         State what the contract or    Vendor  contract
                                       ____________________________________     Qualitrix
                                                                                _________________________________________________________
  17
 2._     lease is for and the nature                                            Tank  Bund Miller, Near Shifaa Hospital
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                Bangalore 560052
         State the term remaining      Expired
                                       ____________________________________
                                                                                _________________________________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    Vendor contract
                                       ____________________________________      e2Serv Ventures Pvt. Ltd.
                                                                                _________________________________________________________
  18 lease is for and the nature
 2._
         of the debtor’s interest      ____________________________________     204, Chawla Complex, Sector 15
                                                                                _________________________________________________________

                                       4 months                                 CBD Belapur, Navi Mumbai – 400614
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________

                                       Virtual office lease                      Work Suites
         State what the contract or    ____________________________________     _________________________________________________________
  19
 2._     lease is for and the nature                                            5100 Westheimer Road
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                Houston, TX 77056
         State the term remaining      1____________________________________
                                          month                                 _________________________________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



 Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                                         3 of ___
                                                                                                                                 page ___   4
                      Case 21-33094 Document 1 Filed in TXSB on 09/20/21 Page 30 of 53

Debtor
               Scarlet   InfoTech, Inc. d/b/a Expedien, Inc.
               _______________________________________________________                Case number (if known)_____________________________________
               Name




          Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

       List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired lease


         State what the contract or    Customer contract                         QuantAI, LLC
                                                                                _________________________________________________________
   20 lease is for and the nature      ___________________________________
 2._
         of the debtor’s interest      ____________________________________
                                                                                 13710   Slate Creek Ln
                                                                                _________________________________________________________

                                                                                 Houston, TX 77077
                                                                                _________________________________________________________
         State the term remaining      12 months
                                       ____________________________________     _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



         State what the contract or
                                       Insurance Contract
                                       ____________________________________     Blue Cross Blue Shield of Texas
                                                                                _________________________________________________________
   21
 2._     lease is for and the nature                                            4888 Loop Central Dr.
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                 Houston, TX 77081
                                       Terminated                               _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



         State what the contract or     Insurance Contract
                                       ____________________________________     Humana, Inc.
                                                                                _________________________________________________________
 2._     lease is for and the nature
                                       ____________________________________     500 West Main St.
                                                                                _________________________________________________________
         of the debtor’s interest
                                                                                 Louisville, KY 40202
         State the term remaining       Terminated
                                       ____________________________________
                                                                                _________________________________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or      Insurance Contact
                                       ____________________________________     Guardian
                                                                                _________________________________________________________
 2._     lease is for and the nature
                                       ____________________________________     6255 Sterner's Way
                                                                                _________________________________________________________
         of the debtor’s interest
                                                                                 Bethlehem, PA 18017-9464
         State the term remaining
                                        1 Month
                                       ____________________________________
                                                                                _________________________________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



         State what the contract or     Insurance Contract
                                       ____________________________________     Hartford Insurance
                                                                                _________________________________________________________
 2._     lease is for and the nature
                                       ____________________________________     One Hartford Plaza
                                                                                _________________________________________________________
         of the debtor’s interest
                                                                                 Hartford, CT 06155
         State the term remaining
                                        1 Year
                                       ____________________________________
                                                                                _________________________________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or      Insurance Contact
                                       ____________________________________     Hilcox Insurance Company, Inc.
                                                                                _________________________________________________________
 2._     lease is for and the nature
                                       ____________________________________     104 South Michigan Avenue, Ste. 600
                                                                                _________________________________________________________
         of the debtor’s interest
                                                                                 Chicago, IL 60603
         State the term remaining       6 Months
                                       ____________________________________
                                                                                _________________________________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



 Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                                         4 of ___
                                                                                                                                 page ___   4
                       Case 21-33094 Document 1 Filed in TXSB on 09/20/21 Page 31 of 53
 Fill in this information to identify the case:

                 Scarlet InfoTech, Inc. d/b/a Expedien, Inc.
 Debtor name __________________________________________________________________

                                        Southern                                 TX
 United States Bankruptcy Court for the:_______________________ District of ________
                                                                                (State)
 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Schedule H: Codebtors                                                                                                                                    12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
          No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
          Yes

 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:

 2.1     _____________________        ________________________________________________________             _____________________              D                   
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code

                                                                                                                                                                   
 2.2
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.3
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.4
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.5
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.6
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code




Official Form 206H                                               Schedule H: Codebtors                                                                   1
                                                                                                                                               page 1 of ___
                      Case 21-33094 Document 1 Filed in TXSB on 09/20/21 Page 32 of 53


Fill in this information to identify the case:

            Scarlet InfoTech, Inc. d/b/a Expedien, Inc.
Debtor name __________________________________________________________________
                                        Southern
United States Bankruptcy Court for the: ______________________             TX
                                                               District of _________
                                                                              (State)
Case number (If known): _________________________
               ___________________________________________


                                                                                                                                      ❑ Check if this is an
                                                                                                                                         amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                  04/19

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


   Part 1:        Income



   1. Gross revenue from business

      ❑   None

              Identify the beginning and ending dates of the debtor’s fiscal year, which        Sources of revenue                   Gross revenue
              may be a calendar year                                                            Check all that apply                 (before deductions and
                                                                                                                                     exclusions)

             From the beginning of the            01/01/2021                                     ❑   Operating a business
                                                                                                                                        2,659,257.10
             fiscal year to filing date:     From ___________
                                                    MM / DD / YYYY
                                                                      to     Filing date         ❑   Other _______________________    $________________

                                                    01/01/2020                12/31/2020
             For prior year:                 From ___________         to     ___________         ❑   Operating a business              1,288,736.00
                                                                                                                                      $________________
                                                    MM / DD / YYYY            MM / DD / YYYY
                                                                                                 ❑   Other _______________________

                                                  01/01/2019                  12/31/2019         ❑
             For the year before that:       From ___________         to     ___________             Operating a business              1,448,055.00
                                                                                                                                      $________________
                                                    MM / DD / YYYY            MM / DD / YYYY
                                                                                                 ❑   Other _______________________




   2. Non-business revenue
      Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
      from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      ❑   None

                                                                                                Description of sources of revenue    Gross revenue from each
                                                                                                                                     source
                                                                                                                                     (before deductions and
                                                                                                                                     exclusions)

             From the beginning of the
                                                                                                ___________________________          $________________
             fiscal year to filing date:     From ___________         to      Filing date
                                                    MM / DD / YYYY



             For prior year:                 From ___________         to      ___________
                                                    MM / DD / YYYY             MM / DD / YYYY   ___________________________          $________________




             For the year before that:       From ___________         to      ___________
                                                    MM / DD / YYYY             MM / DD / YYYY   ___________________________          $________________




 Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            page 1
                           Case 21-33094 Document 1 Filed in TXSB on 09/20/21 Page 33 of 53

Debtor             Scarlet InfoTech, Inc. d/b/a Expedien, Inc.
                   _______________________________________________________                         Case number (if known)_____________________________________
                   Name




   Part 2:          List Certain Transfers Made Before Filing for Bankruptcy

   3. Certain payments or transfers to creditors within 90 days before filing this case
         List payments or transfers⎯including expense reimbursements⎯to any creditor, other than regular employee compensation, within 90
         days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be
         adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

         ❑      None

                 Creditor’s name and address                         Dates         Total amount or value         Reasons for payment or transfer
                                                                                                                 Check all that apply

                 See attached SOFA 3
         3.1.

                 __________________________________________         ________       $_________________            ❑     Secured debt
                 Creditor’s name
                                                                                                                 ❑     Unsecured loan repayments
                 __________________________________________
                 Street                                             ________                                     ❑     Suppliers or vendors
                 __________________________________________
                                                                                                                 ❑     Services
                 __________________________________________
                 City                          State    ZIP Code
                                                                    ________                                     ❑     Other _______________________________


         3.2.

                 __________________________________________         ________       $_________________            ❑     Secured debt
                 Creditor’s name
                                                                                                                 ❑     Unsecured loan repayments
                 __________________________________________
                 Street                                             ________                                     ❑     Suppliers or vendors
                 __________________________________________                                                      ❑     Services
                 __________________________________________
                 City                          State    ZIP Code
                                                                    ________                                     ❑     Other _______________________________


   4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
         List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
         guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
         $6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
         Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
         general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
         the debtor. 11 U.S.C. § 101(31).

         ❑      None

                 Insider’s name and address                          Dates         Total amount or value        Reasons for payment or transfer

                   See attached SOFA 4
         4.1.

                 __________________________________________        _________      $__________________          ___________________________________________
                 Insider’s name

                                                                   _________                                   ___________________________________________
                 Street
                 __________________________________________        _________                                   ___________________________________________
                 __________________________________________
                 City                          State    ZIP Code


                 Relationship to debtor
                 __________________________________________


         4.2.

                 __________________________________________        _________      $__________________          ___________________________________________
                 Insider’s name
                 __________________________________________        _________                                   ___________________________________________
                 Street
                 __________________________________________        _________                                   ___________________________________________
                 __________________________________________
                 City                          State    ZIP Code



                 Relationship to debtor

                 __________________________________________



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Debtor             Scarlet InfoTech, Inc. d/b/a Expedien, Inc.
                   _______________________________________________________                                   Case number (if known)_____________________________________
                   Name




   5. Repossessions, foreclosures, and returns
         List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
         sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

         ❑      None
                Creditor’s name and address                             Description of the property                                   Date               Value of property
         5.1.

                __________________________________________              ___________________________________________                   ______________     $___________
                Creditor’s name
                __________________________________________              ___________________________________________
                Street
                __________________________________________              ___________________________________________
                __________________________________________
                City                          State     ZIP Code

         5.2.

                __________________________________________              ___________________________________________                   _______________      $___________
                Creditor’s name
                __________________________________________              ___________________________________________
                Street
                __________________________________________              ___________________________________________
                __________________________________________
                City                          State     ZIP Code


   6. Setoffs
         List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
         the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
         ❑      None
                 Creditor’s name and address                              Description of the action creditor took                     Date action was       Amount
                                                                                                                                      taken

                 __________________________________________              ___________________________________________                _______________      $___________
                 Creditor’s name
                 __________________________________________              ___________________________________________
                 Street
                 __________________________________________
                 __________________________________________             Last 4 digits of account number: XXXX– __ __ __ __
                 City                          State     ZIP Code


    Part 3:            Legal Actions or Assignments

   7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
         List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
         was involved in any capacity—within 1 year before filing this case.

         ❑      None
                 Case title                                 Nature of case                             Court or agency’s name and address                 Status of case
                 RESMAN, LLC v.                                                                               UNITED STATES DISTRICT COURT
         7.1.    KARYA PROPERTY MANAGEMENT, LLC,                   Civil action
                                                             ______________________________                  FOR THE EASTERN DISTRICT OF TEXAS
                                                                                                      __________________________________________          ❑   Pending
                 and SCARLET INFOTECH, INC. D/B/A EXPEDIEN, INC.
                 _________________________________
                                                                                                      Name   SHERMAN DIVISION                             ❑   On appeal
                                                                                                      __________________________________________
                 Case number                                                                          Street                                              ❑   Concluded
                                                                                                           101 East Pecan Street Room 216
                                                                                                      __________________________________________
                 4:19-cv-00402-ALM                                                                    Sherman                 TX              75090
                 _________________________________                                                    __________________________________________
                                                                                                      City                  State             ZIP Code


                 Case title                                                                             Court or agency’s name and address
                                                                                                                                                          ❑   Pending
         7.2.
                 _________________________________          ______________________________            __________________________________________          ❑   On appeal
                                                                                                      Name
                                                                                                      __________________________________________
                                                                                                                                                          ❑   Concluded
                 Case number
                                                                                                      Street
                                                                                                      __________________________________________
                 _________________________________
                                                                                                      __________________________________________
                                                                                                      City                          State     ZIP Code


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Debtor             Scarlet InfoTech, Inc. d/b/a Expedien, Inc.
                   _______________________________________________________                            Case number (if known)_____________________________________
                   Name




   8. Assignments and receivership
         List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
         hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
         ❑      None
                  Custodian’s name and address                       Description of the property                        Value

                 __________________________________________          ______________________________________             $_____________
                 Custodian’s name
                                                                      Case title                                        Court name and address
                 __________________________________________
                 Street
                                                                     ______________________________________           __________________________________________
                 __________________________________________                                                           Name
                 __________________________________________           Case number                                     __________________________________________
                 City                          State     ZIP Code                                                     Street
                                                                     ______________________________________           __________________________________________
                                                                      Date of order or assignment                     __________________________________________
                                                                                                                      City                 State               ZIP Code

                                                                     ______________________________________

   Part 4:             Certain Gifts and Charitable Contributions

   9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
         of the gifts to that recipient is less than $1,000
         ❑      None
                 Recipient’s name and address                        Description of the gifts or contributions                   Dates given           Value


                __________________________________________           ___________________________________________                 _________________   $__________
         9.1.
                Recipient’s name
                __________________________________________           ___________________________________________
                Street
                __________________________________________
                __________________________________________
                City                          State     ZIP Code


                  Recipient’s relationship to debtor
                  __________________________________________


                __________________________________________           ___________________________________________                 _________________   $__________
         9.2. Recipient’s name

                __________________________________________           ___________________________________________
                Street
                __________________________________________
                __________________________________________
                City                          State     ZIP Code

                  Recipient’s relationship to debtor
                  __________________________________________


   Part 5:             Certain Losses

   10. All losses from fire, theft, or other casualty within 1 year before filing this case.

         ❑      None
                 Description of the property lost and how the loss   Amount of payments received for the loss                    Date of loss        Value of property
                 occurred                                            If you have received payments to cover the loss, for                            lost
                                                                     example, from insurance, government compensation, or
                                                                     tort liability, list the total received.
                                                                     List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                     Assets – Real and Personal Property).


                 ___________________________________________         ___________________________________________                 _________________   $__________
                 ___________________________________________


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Debtor          Scarlet InfoTech, Inc. d/b/a Expedien, Inc.
                _______________________________________________________                          Case number (if known)_____________________________________
                Name




   Part 6:       Certain Payments or Transfers

   11. Payments related to bankruptcy
         List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
         the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
         seeking bankruptcy relief, or filing a bankruptcy case.

         ❑   None

              Who was paid or who received the transfer?          If not money, describe any property transferred          Dates               Total amount or
                                                                                                                                               value

               Parkins Lee & Rubio LLP
                                                                                                                            04/05/2021
              __________________________________________
     11.1.                                                        ___________________________________________
                                                                                                                           ______________        25,000.00 (retainer)
                                                                                                                                                $_________
                                                                                                                            07/14/2021
              Address
                                                                  ___________________________________________                                   $19,409.39
               700 Milam Street, Suite 1300
              __________________________________________
              Street
                                                                                                                            09/10/2021          $17,685.00
                                       TX       77002
              Houston
              __________________________________________                                                                    09/15/2021           $5,000.00
              __________________________________________
              City                        State      ZIP Code


              Email or website address
               www.parkinslee.com
              _________________________________

              Who made the payment, if not debtor?


              __________________________________________


              Who was paid or who received the transfer?          If not money, describe any property transferred          Dates               Total amount or
                                                                                                                                               value


     11.2.     The Towber Law Firm PLLC
              __________________________________________          ___________________________________________               03/25/2021            10,000.00
                                                                                                                           ______________       $_________
              Address                                             ___________________________________________                                     Retainer
              __________________________________________
              Street
                                                                                                                    ($9185 returned on 6/11/21)
               1111 Heights Blvd
              __________________________________________
              Houston                 TX        77008
              __________________________________________
              City                        State      ZIP Code

              Email or website address
              __________________________________________

              Who made the payment, if not debtor?

              __________________________________________


   12. Self-settled trusts of which the debtor is a beneficiary
         List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
         a self-settled trust or similar device.
         Do not include transfers already listed on this statement.

         ❑   None

              Name of trust or device                             Describe any property transferred                         Dates transfers     Total amount or
                                                                                                                            were made           value


              __________________________________________          ___________________________________________               ______________       $_________

              Trustee                                             ___________________________________________
              __________________________________________




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Debtor          Scarlet InfoTech, Inc. d/b/a Expedien, Inc.
                _______________________________________________________                             Case number (if known)_____________________________________
                Name




   13. Transfers not already listed on this statement
         List any transfers of money or other property⎯by sale, trade, or any other means⎯made by the debtor or a person acting on behalf of the debtor
         within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
         Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


         ❑   None

              Who received transfer?                                 Description of property transferred or payments received   Date transfer       Total amount or
                                                                     or debts paid in exchange                                  was made            value



     13.1.     Carmax
              __________________________________________                 Lexus 450H (2019)
                                                                     ___________________________________________                09/09/2021
                                                                                                                                ________________      38,000.00
                                                                                                                                                     $_________

              Address
                                                                     ___________________________________________         Sale proceeds deposited into debtor's bank
                                                                                                                         account on 09/09/2021
              __________________________________________
              Street

               6909 Southwest Fwy
              __________________________________________
               Houston, TX 77074
              __________________________________________
              City                         State      ZIP Code


              Relationship to debtor

              __________________________________________




              Who received transfer?
                                                                     ___________________________________________                03/09/2021 $_________
                                                                                                                                            1,000,000.00
                                                                                                                                ________________


     13.2.
               Beck Redden
              __________________________________________                 Insurance Proceeds
                                                                     ___________________________________________

              Address
              __________________________________________
              Street
               1221 McKinney St., Ste. 4500
              __________________________________________
              Houston, Texas 77010
              __________________________________________
              City                         State      ZIP Code


              Relationship to debtor
               Attorneys for Expedien and Karya
              __________________________________________



   Part 7:       Previous Locations

   14. Previous addresses
         List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

         ❑   Does not apply
              Address                                                                                                Dates of occupancy


     14.1.      3200 Southwest Freeway, Suite 3300
               _______________________________________________________________________                               From       2004
                                                                                                                                ____________       To   2018
                                                                                                                                                        ____________
              Street
              _______________________________________________________________________
                Houston                                 TX           77027
              _______________________________________________________________________
              City                                               State         ZIP Code


     14.2.     _______________________________________________________________________                               From       ____________       To   ____________
              Street
              _______________________________________________________________________
              _______________________________________________________________________
              City                                               State         ZIP Code


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Debtor            Scarlet InfoTech, Inc. d/b/a Expedien, Inc.
                 _______________________________________________________                              Case number (if known)_____________________________________
                 Name




   Part 8:            Health Care Bankruptcies

   15. Health Care bankruptcies
         Is the debtor primarily engaged in offering services and facilities for:
         ⎯ diagnosing or treating injury, deformity, or disease, or
         ⎯ providing any surgical, psychiatric, drug treatment, or obstetric care?

         ❑   No. Go to Part 9.
         ❑   Yes. Fill in the information below.
               Facility name and address                          Nature of the business operation, including type of services the            If debtor provides meals
                                                                  debtor provides                                                             and housing, number of
                                                                                                                                              patients in debtor’s care

     15.1.     ________________________________________           ___________________________________________________________                 ____________________
               Facility name
                                                                  ____________________________________________________________
               ________________________________________
               Street                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                                  address). If electronic, identify any service provider.
               ________________________________________
                                                                                                                                              Check all that apply:
                                                                  ____________________________________________________________
               ________________________________________
               City                     State      ZIP Code       ____________________________________________________________
                                                                                                                                              ❑   Electronically
                                                                                                                                              ❑   Paper

               Facility name and address                          Nature of the business operation, including type of services the            If debtor provides meals
                                                                  debtor provides                                                             and housing, number of
                                                                                                                                              patients in debtor’s care

     15.2.     ________________________________________           ___________________________________________________________                 ____________________
               Facility name
                                                                  ___________________________________________________________
               ________________________________________
               Street                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                                  address). If electronic, identify any service provider.
               ________________________________________
                                                                                                                                              Check all that apply:
                                                                  ____________________________________________________________
               ________________________________________
               City                     State      ZIP Code       ____________________________________________________________
                                                                                                                                              ❑   Electronically
                                                                                                                                              ❑   Paper

   Part 9:            Personally Identifiable Information

   16. Does the debtor collect and retain personally identifiable information of customers?

         ❑   No.
         ❑   Yes. State the nature of the information collected and retained. ___________________________________________________________________
                      Does the debtor have a privacy policy about that information?
                      ❑   No
                      ❑   Yes
   17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
         pension or profit-sharing plan made available by the debtor as an employee benefit?

         ❑   No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?
                      ❑   No. Go to Part 10.
                      ❑   Yes. Fill in below:
                           Name of plan                                                                             Employer identification number of the plan
                           Scarlet InfoTech, Inc. 401k (plan)
                           _______________________________________________________________________                        0 ___
                                                                                                                             1 – ___
                                                                                                                                 0 ___
                                                                                                                                     6 ___
                                                                                                                                        4 ___
                                                                                                                                           1 ___
                                                                                                                                              8 3     2
                                                                                                                    EIN: ___                     ___ ___

                          Has the plan been terminated?
                          ❑    No
                          ❑    Yes



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Debtor           Scarlet InfoTech, Inc. d/b/a Expedien, Inc.
                 _______________________________________________________                             Case number (if known)_____________________________________
                 Name




   Part 10:           Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

   18. Closed financial accounts
         Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
         moved, or transferred?
         Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
         brokerage houses, cooperatives, associations, and other financial institutions.

         ❑   None

               Financial institution name and address           Last 4 digits of account        Type of account             Date account was        Last balance
                                                                number                                                      closed, sold, moved,    before closing or
                                                                                                                            or transferred          transfer

     18.1.     ______________________________________           XXXX–___ ___ ___ ___            ❑ Checking                  ___________________      $__________
               Name
                                                                                                ❑ Savings
               ______________________________________
               Street                                                                           ❑ Money market
               ______________________________________
                                                                                                ❑ Brokerage
               ______________________________________
               City                  State        ZIP Code                                      ❑ Other______________

     18.2.     ______________________________________           XXXX–___ ___ ___ ___            ❑ Checking                  ___________________      $__________
               Name
                                                                                                ❑ Savings
               ______________________________________
               Street                                                                           ❑ Money market
               ______________________________________
                                                                                                ❑ Brokerage
               ______________________________________
               City                  State        ZIP Code                                      ❑ Other______________

   19. Safe deposit boxes
         List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

         ❑   None

                 Depository institution name and address        Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                          still have it?

               ______________________________________          __________________________________          __________________________________             ❑   No
               Name
                                                               __________________________________          __________________________________
                                                                                                                                                          ❑   Yes
               ______________________________________
               Street                                          __________________________________          __________________________________
               ______________________________________
               ______________________________________           Address
               City                  State        ZIP Code
                                                               ____________________________________

                                                               ____________________________________

  20. Off-premises storage
         List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
         which the debtor does business.

      ❑      None

                 Facility name and address                      Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                          still have it?
                                                                                                                                                           ❑ No
               ______________________________________
               Name
                                                               __________________________________          __________________________________
                                                                                                                                                           ❑ Yes
                                                               __________________________________          __________________________________
               ______________________________________
               Street                                          __________________________________          __________________________________
               ______________________________________
               ______________________________________            Address
               City                  State        ZIP Code
                                                                ________________________________
                                                                _________________________________



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Debtor            Scarlet InfoTech, Inc. d/b/a Expedien, Inc.
                  _______________________________________________________                             Case number (if known)_____________________________________
                  Name




   Part 11:          Property the Debtor Holds or Controls That the Debtor Does Not Own

   21. Property held for another
         List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
         trust. Do not list leased or rented property.

         ❑   None

              Owner’s name and address                              Location of the property                Description of the property                 Value

                                                                                                                                                        $_______
              ______________________________________                __________________________________      __________________________________
              Name
                                                                    __________________________________      __________________________________
              ______________________________________
              Street                                                __________________________________      __________________________________
              ______________________________________
              ______________________________________
              City                 State          ZIP Code




   Part 12:          Details About Environmental Information

   For the purpose of Part 12, the following definitions apply:
   ◼ Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
         regardless of the medium affected (air, land, water, or any other medium).
   ◼ Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
         formerly owned, operated, or utilized.
   ◼ Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
         or a similarly harmful substance.

   Report all notices, releases, and proceedings known, regardless of when they occurred.


   22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


         ❑   No
         ❑   Yes. Provide details below.
              Case title                                     Court or agency name and address              Nature of the case                       Status of case

              _________________________________
                                                             _____________________________________         __________________________________       ❑   Pending
              Case number                                    Name
                                                                                                           __________________________________
                                                                                                                                                    ❑   On appeal

              _________________________________
                                                             _____________________________________
                                                             Street
                                                                                                                                                    ❑   Concluded
                                                                                                           __________________________________
                                                             _____________________________________
                                                             _____________________________________
                                                             City                    State     ZIP Code




   23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
         environmental law?

         ❑   No
         ❑   Yes. Provide details below.

             Site name and address                           Governmental unit name and address            Environmental law, if known             Date of notice


              __________________________________             _____________________________________         __________________________________       __________
              Name                                           Name
                                                                                                           __________________________________
              __________________________________             _____________________________________
              Street                                         Street                                        __________________________________
              __________________________________             _____________________________________
              __________________________________             _____________________________________
              City                 State     ZIP Code        City                   State      ZIP Code




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Debtor            Scarlet InfoTech, Inc. d/b/a Expedien, Inc.
                  _______________________________________________________                        Case number (if known)_____________________________________
                  Name




   24. Has the debtor notified any governmental unit of any release of hazardous material?
         ❑   No
         ❑   Yes. Provide details below.

             Site name and address                       Governmental unit name and address           Environmental law, if known                Date of notice


              __________________________________        ______________________________________        __________________________________           __________
              Name                                      Name
                                                                                                      __________________________________
              __________________________________        ______________________________________
              Street                                    Street                                        __________________________________
              __________________________________        ______________________________________
              __________________________________        ______________________________________
              City                 State    ZIP Code    City                 State        ZIP Code




   Part 13:            Details About the Debtor’s Business or Connections to Any Business


   25. Other businesses in which the debtor has or has had an interest
         List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
         Include this information even if already listed in the Schedules.

         ❑   None


              Business name and address                  Describe the nature of the business                   Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
     25.1.    __________________________________         _____________________________________________
              Name                                                                                             Dates business existed
                                                         _____________________________________________
              __________________________________
              Street                                     _____________________________________________
              __________________________________                                                               From _______         To _______
              __________________________________
              City                 State    ZIP Code




              Business name and address                  Describe the nature of the business                   Employer Identification number
     25.2.                                                                                                     Do not include Social Security number or ITIN.

              __________________________________         _____________________________________________         EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
              Name
                                                                                                               Dates business existed
                                                         _____________________________________________
              __________________________________
              Street                                     _____________________________________________
              __________________________________                                                               From _______         To _______
              __________________________________
              City                 State    ZIP Code



              Business name and address                  Describe the nature of the business                   Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

     25.3.    __________________________________         _____________________________________________         EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
              Name
                                                         _____________________________________________         Dates business existed
              __________________________________
              Street                                     _____________________________________________
              __________________________________
              __________________________________                                                               From _______         To _______
              City                 State    ZIP Code




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Debtor               Scarlet InforTech Inc. d/b/a Expedien, Inc.
                     _______________________________________________________                          Case number (if known)_____________________________________
                     Name




   26. Books, records, and financial statements
         26a. List   all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                ❑     None
                 Name and address                                                                                   Dates of service

                                                                                                                         2010
                                                                                                                    From _______          Present
                                                                                                                                       To _______
     26a.1.       TAP Associates, LLC, ATTN: Tushar Patil
                 __________________________________________________________________________________
                 Name
                  1842 Snake River Road, Suite A
                 __________________________________________________________________________________
                 Street
                 __________________________________________________________________________________
                  Katy                                         TX                  77449
                 __________________________________________________________________________________
                 City                                                State                 ZIP Code


                 Name and address                                                                                   Dates of service

                                                                                                                    From _______       To _______
     26a.2.      __________________________________________________________________________________
                 Name
                 __________________________________________________________________________________
                 Street
                 __________________________________________________________________________________
                 __________________________________________________________________________________
                 City                                                State                 ZIP Code



         26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
                statement within 2 years before filing this case.
                ❑     None

                        Name and address                                                                            Dates of service

                                                                                                                    From _______       To _______
           26b.1.       TAP Associates, LLC, ATTN: Tushar Patil
                        ______________________________________________________________________________
                        Name
                        1842 Snake River Road, Suite A
                        ______________________________________________________________________________
                        Street
                        ______________________________________________________________________________
                        Katy                                          TX                  77449
                        ______________________________________________________________________________
                        City                                             State                 ZIP Code


                        Name and address                                                                            Dates of service

                                                                                                                    From _______       To _______
           26b.2.       ______________________________________________________________________________
                        Name
                        ______________________________________________________________________________
                        Street
                        ______________________________________________________________________________
                        ______________________________________________________________________________
                        City                                             State                 ZIP Code



         26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
                ❑     None
                        Name and address                                                                            If any books of account and records are
                                                                                                                    unavailable, explain why


            26c.1.      TAP Associates, LLC, ATTN: Tushar Patil
                        ______________________________________________________________________________              _________________________________________
                        Name
                        1842 Snake River Road, Suite A
                        ______________________________________________________________________________
                                                                                                                    _________________________________________
                        Street                                                                                      _________________________________________
                        ______________________________________________________________________________
                        Katy                                          TX                  77449
                        ______________________________________________________________________________
                        City                                             State                 ZIP Code



Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 11
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Debtor                Scarlet InfoTech, Inc. d/b/a Expedien, Inc.
                      _______________________________________________________                       Case number (if known)_____________________________________
                      Name




                         Name and address                                                                         If any books of account and records are
                                                                                                                  unavailable, explain why


             26c.2.      ______________________________________________________________________________           _________________________________________
                         Name
                                                                                                                  _________________________________________
                         ______________________________________________________________________________
                         Street                                                                                   _________________________________________
                         ______________________________________________________________________________
                         ______________________________________________________________________________
                         City                                            State                   ZIP Code



         26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
              within 2 years before filing this case.

                ❑      None

                         Name and address


             26d.1.      ______________________________________________________________________________
                         Name
                         ______________________________________________________________________________
                         Street
                         ______________________________________________________________________________
                         ______________________________________________________________________________
                         City                                            State                   ZIP Code


                         Name and address


             26d.2.      ______________________________________________________________________________
                         Name
                         ______________________________________________________________________________
                         Street
                         ______________________________________________________________________________
                         ______________________________________________________________________________
                         City                                            State                   ZIP Code




   27. Inventories

         Have any inventories of the debtor’s property been taken within 2 years before filing this case?
         ❑    No
         ❑    Yes. Give the details about the two most recent inventories.



                 Name of the person who supervised the taking of the inventory                        Date of      The dollar amount and basis (cost, market, or
                                                                                                      inventory    other basis) of each inventory


                ______________________________________________________________________               _______      $___________________

                 Name and address of the person who has possession of inventory records


     27.1.       ______________________________________________________________________
                Name
                ______________________________________________________________________
                Street
                ______________________________________________________________________
                ______________________________________________________________________
                City                                                     State        ZIP Code




Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 12
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Debtor
                  Scarlet InfoTech, Inc. d/b/a Expedien, Inc.
                  _______________________________________________________                        Case number (if known)_____________________________________
                  Name




              Name of the person who supervised the taking of the inventory                       Date of           The dollar amount and basis (cost, market, or
                                                                                                  inventory         other basis) of each inventory

              ______________________________________________________________________              _______       $___________________

              Name and address of the person who has possession of inventory records


     27.2.    ______________________________________________________________________
              Name
              ______________________________________________________________________
              Street
              ______________________________________________________________________
              ______________________________________________________________________
              City                                                     State          ZIP Code


   28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
         people in control of the debtor at the time of the filing of this case.

              Name                                 Address                                               Position and nature of any             % of interest, if any
                                                                                                         interest
               Jiten Agarwal
              ____________________________         _____________________________________________          President
                                                                                                         ____________________________             1%
                                                                                                                                                 _______________

               Rachna Agarwal
              ____________________________         _____________________________________________          Director
                                                                                                         ____________________________             99%
                                                                                                                                                 _______________

              ____________________________         _____________________________________________         ____________________________            _______________

              ____________________________         _____________________________________________         ____________________________            _______________

              ____________________________         _____________________________________________         ____________________________            _______________

   29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
         of the debtor, or shareholders in control of the debtor who no longer hold these positions?
         ❑   No
         ❑   Yes. Identify below.

              Name                                 Address                                                Position and nature of          Period during which
                                                                                                          any interest                    position or interest was
                                                                                                                                          held
              ____________________________         _____________________________________________          ______________________         From _____ To _____

              ____________________________         _____________________________________________          ______________________         From _____ To _____

              ____________________________         _____________________________________________          ______________________         From _____ To _____

              ____________________________         _____________________________________________          ______________________         From _____ To _____

   30. Payments, distributions, or withdrawals credited or given to insiders
         Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
         bonuses, loans, credits on loans, stock redemptions, and options exercised?
         ❑   No
         ❑   Yes. Identify below.

              Name and address of recipient                                              Amount of money or                   Dates              Reason for
                                                                                         description and value of                                providing the value
                                                                                         property


     30.1.
               See attached SOFA 30
              ______________________________________________________________              _________________________     _____________             ____________
              Name
                                                                                                        ____________________________
              ______________________________________________________________
              Street                                                                                                         _____________
              ______________________________________________________________
              ______________________________________________________________                                                 _____________
              City                                     State           ZIP Code

              Relationship to debtor                                                                                         _____________

              ______________________________________________________________                                                 _____________

Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 13
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Creditor's Name and Address                                 Date          Amount        Reason
Sure Payroll, 2350 Ravine Way, Glenview, IL 60025               9/16/2021     ($130.70) Services Fee
                                                                                        Final salary of an
Sure Payroll, 2350 Ravine Way, Glenview, IL 60025               9/16/2021   ($6,110.21) employee
The Guradian Insurance, 10 Hudson Yards, New York, NY
10001                                                             9/15/2021       ($86.39) STD, LTD Insurance
Euclid Elementz Inc, 1000, Rt 9 North, Suite 303,
Woodbridge, NJ 07095                                              9/15/2021   ($12,320.00) Vendor
Wells Fargo, 420 Montgomery Street, San Francisco, CA
94104                                                             9/15/2021       ($30.00) Wire Transfer Fee
Parkins Lee & Rubio LLP, 700 Milam Suite 1300 Houston,
TX 77002                                                          9/15/2021    ($5,000.00) Legal Fees
Sure Payroll, 2350 Ravine Way, Glenview, IL 60025                 9/13/2021       ($19.41) Services Fee
                                                                                           401 K ‐ Salary
401K Inc, 29100 Network Place, Chicago, IL 60673‐1291             9/13/2021    ($2,509.02) Contribution
HUMANA, INC. 500 West Main Street Louisville, Kentucky                                     Dental and Vision
40202                                                             9/13/2021      ($411.17) Insurance
Seiler Mitby PLLC, 2700 Research Forest, Suite 100, The           9/13/2021   ($19,245.00) Legal Fees
W    dl Lee
Parkins  d &77381
              Rubio LLP, 700 Milam Suite 1300 Houston,
TX 77002                                                          9/13/2021   ($12,685.00) Legal Fees
Beck Redden, 1221 McKinney St Suite 4500, Houston, TX
77010                                                             9/13/2021   ($14,066.11) Legal Fees

                                                                                           Salaries for August
Sure Payroll, 2350 Ravine Way, Glenview, IL 60025                 9/10/2021   ($30,283.41) 16 ‐ August 31, 2021
Sure Payroll, 2350 Ravine Way, Glenview, IL 60025                 9/10/2021       ($32.01) Services Fee
TAP Associates, LLC, 1842 Snake River Rd Ste. A, Katy, TX
77449                                                              9/9/2021    ($4,900.00) Vendor
Euclid Elementz Inc, 1000, Rt 9 North, Suite 303,
Woodbridge, NJ 07095                                               9/8/2021   ($11,760.00) Vendor
Shinewell Technologies, Inc, 22710 Haggerty Rd. Suite
132, Farmington Hills, MI 48335                                    9/8/2021   ($12,320.00) Vendor
                                                                   9/7/2021    ($8,955.00) Vendor
e2Serv Ventures Pvt. Ltd., 204, Chawla Complex, Sector
15, CBD Belapur, Navi Mumbai ‐ 400614                              9/7/2021    ($2,643.00) Vendor
Wells Fargo, 420 Montgomery Street, San Francisco, CA
94104                                                              9/7/2021       ($45.00) Wire Transfer Fee
Wells Fargo, 420 Montgomery Street, San Francisco, CA
94104                                                              9/7/2021       ($45.00) Wire Transfer Fee
Morlogic Inc 2500 Packard Street, Ste 201 Ann Arbor, MI
48104                                                              9/2/2021   ($10,855.00) Vendor
Karwell Technologies Inc, Suite # 11, 285 Durham Ave               9/1/2021   ($13,200.00) Vendor
Corpteq Solutions Inc, 1255 Peachtree Parkway, Suite #
4104, Cumming, GA 30041                                            9/1/2021    ($9,275.00) Vendor
Blue Cross Blue Shield of Texas, 1001 E. Lookout Drive,
Richardson, Texas 75082                                           8/31/2021    ($4,479.77) Health Insurance



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Creditor's Name and Address                                Date          Amount             Reason
SAIPSIT Inc, 10998 S Wilcrest Dr. Suite # 123, Houston, TX
77099                                                          8/30/2021 ($14,760.00)       Vendor
Kwanzatech, Inc, 21801 Northcrest Drive, #337, Spring TX
77386                                                          8/30/2021   ($5,460.00)      Vendor
Wells Fargo, 420 Montgomery Street, San Francisco, CA
94104                                                          8/30/2021      ($12.99)     Bank Fee
                                                                                           401 K ‐ Salary
401K Inc, 29100 Network Place, Chicago, IL 60673‐1291             8/30/2021    ($2,067.60) Contribution
44 Islands Co, 442 Brady Ln, Austin, TX 78746                     8/30/2021   ($30,062.50) Vendor
                                                                                           Salaries for August 1 ‐
Sure Payroll, 2350 Ravine Way, Glenview, IL 60025                 8/27/2021   ($21,490.55) August 15, 2021
Appridat Solutions, LLC, 801 E Campbell Road, Suite 690,
Richardson, TX 75081                                              8/26/2021   ($10,920.00) Vendor
V3Tech Solutions Inc, 113 Executive Pointe Blvd, Suite
201, Columbia, SC 29210 US                                        8/26/2021   ($10,920.00) Vendor
United Software Corporation, 6200 La Calma Dr # 115,
Austin, TX 78752                                                  8/26/2021   ($10,515.00) Vendor
Sure Payroll, 2350 Ravine Way, Glenview, IL 60025                 8/26/2021       ($31.00) Services Fee
Hartford Insurance, One Hartford Plaza, Hartford, CT                                       General Liability
06155                                                             8/24/2021    ($3,096.00) Insurance
V3Tech Solutions Inc, 113 Executive Pointe Blvd, Suite
201, Columbia, SC 29210 US                                        8/23/2021   ($11,400.00) Vendor
Eficens Systems LLC, Suite 603, 5400 Laurel Springs Pkwy,
Suwanee GA 30024                                                  8/20/2021    ($4,095.00) Vendor
Kwanzatech, Inc, 21801 Northcrest Drive, #337, Spring TX
77386                                                             8/19/2021   ($17,850.00) Vendor
Corpteq Solutions Inc, 1255 Peachtree Parkway, Suite #
4104, Cumming, GA 30041                                           8/19/2021    ($9,328.00) Vendor
Morlogic Inc, 2500 Packard Street, Ste 201, Ann Arbor, MI
48104                                                             8/19/2021   ($11,700.00) Vendor
QuantAI, LLC, 13710 Slate Creek Ln, Houston, TX 77077             8/19/2021   ($17,700.00) Vendor
Karwell Technologies Inc, Suite # 11, 285 Durham Ave,
South Plainfield, NJ 07080                                        8/18/2021   ($13,200.00) Vendor
Euclid Elementz Inc, 1000, Rt 9 North, Suite 303,
Woodbridge, NJ 07095                                              8/17/2021   ($12,320.00) Vendor
Appridat Solutions, LLC, 801 E Campbell Road, Suite 690,
Richardson, TX 75081                                              8/16/2021   ($11,440.00) Vendor
TAP Associates, LLC, 1828 Snake River Rd, Ste. D&E, Katy,
TX 77449                                                          8/16/2021    ($8,875.00) Vendor
                                                                                           401 K ‐ Salary
401K Inc, 29100 Network Place, Chicago, IL 60673‐1291             8/16/2021    ($4,195.60) Contribution
The Guradian Insurance, 10 Hudson Yards, New York, NY
10001                                                             8/16/2021       ($86.39) STD, LTD Insurance
                                                                                           Salaries for July 16 ‐
Sure Payroll, 2350 Ravine Way, Glenview, IL 60025                 8/13/2021   ($69,570.58) July 31, 2021
Sure Payroll, 2350 Ravine Way, Glenview, IL 60025                 8/13/2021       ($18.79) Services Fee


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Creditor's Name and Address                                Date          Amount           Reason
SAIPSIT Inc, 10998 S Wilcrest Dr. Suite # 123, Houston, TX
77099                                                          8/12/2021 ($25,520.00)     Vendor
V3Tech Solutions Inc, 113 Executive Pointe Blvd, Suite
201, Columbia, SC 29210 US                                     8/12/2021 ($10,400.00)     Vendor
HUMANA, INC. 500 West Main Street Louisville, Kentucky                                    Dental and Vision
40202                                                          8/12/2021     ($411.17)    Insurance
Sure Payroll, 2350 Ravine Way, Glenview, IL 60025              8/11/2021      ($44.25)    Services Fee
Wells Fargo Credit Card, 420 Montgomery Street, San
Francisco, CA 94104                                            8/11/2021     ($423.71)    Business Expenses
Kwanzatech, Inc, 21801 Northcrest Drive, #337, Spring TX
77386                                                          8/10/2021 ($23,520.00)     Vendor
United Software Corporation, 6200 La Calma Dr # 115,
Austin, TX 78752                                               8/10/2021 ($10,515.00)     Vendor
Cloud Factors LLC, 4206 Tanner Woods Lane, Sugar Land,
TX 77479                                                       8/10/2021 ($15,000.75)     Vendor
GETLOB Private Limited,Mythris The Town, F.No. B‐102,
Shaili garden, Yapral ‐ 500087                                 8/10/2021   ($7,165.00)    Vendor
Qualitrix Technologies Pvt. Ltd, #2 Off Queens Road, Tank
Bund Miller, Near Shifaa Hospital, Bangalore 560052            8/10/2021 ($15,541.00)     Vendor
e2Serv Ventures Pvt. Ltd., 204, Chawla Complex, Sector
15, CBD Belapur, Navi Mumbai ‐ 400614                          8/10/2021   ($2,787.00)    Vendor
44 Islands Co, 442 Brady Ln, Austin, TX 78746                  8/10/2021 ($29,312.50)     Vendor
Wells Fargo, 420 Montgomery Street, San Francisco, CA
94104                                                          8/10/2021      ($45.00)    Wire Transfer Fee
Wells Fargo, 420 Montgomery Street, San Francisco, CA
94104                                                          8/10/2021      ($45.00)    Wire Transfer Fee
Wells Fargo, 420 Montgomery Street, San Francisco, CA
94104                                                          8/10/2021      ($45.00)    Wire Transfer Fee
Shinewell Technologies, Inc, 22710 Haggerty Rd. Suite
132, Farmington Hills, MI 48335                                7/30/2021 ($11,200.00)     Vendor
Blue Cross Blue Shield of Texas, 1001 E. Lookout Drive,
Richardson, Texas 75082                                        7/30/2021   ($4,921.55)   Health Insurance
                                                                                         401 K ‐ Salary
401K Inc, 29100 Network Place, Chicago, IL 60673‐1291           7/30/2021    ($4,315.60) Contribution
                                                                                         Salaries for July 1 ‐
Sure Payroll, 2350 Ravine Way, Glenview, IL 60025               7/29/2021   ($49,829.76) July 15, 2021
Wells Fargo, 420 Montgomery Street, San Francisco, CA
94104                                                           7/28/2021       ($12.99) Bank Fee
Sure Payroll, 2350 Ravine Way, Glenview, IL 60025               7/28/2021       ($46.44) Services Fee
Corpteq Solutions Inc 1255 Peachtree Parkway, Suite #
4104, Cumming, GA 30041                                         7/27/2021    ($6,360.00) Vendor
Morlogic Inc, 2500 Packard Street, Ste 201, Ann Arbor, MI
48104                                                           7/21/2021   ($11,505.00) Vendor
Karwell Technologies Inc, Suite # 11, 285 Durham Ave,
South Plainfield, NJ 07080                                      7/21/2021   ($12,000.00) Vendor




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Creditor's Name and Address                                  Date              Amount        Reason
Euclid Elementz Inc, 1000, Rt 9 North, Suite 303,
Woodbridge, NJ 07095                                             7/19/2021      ($11,200.00) Vendor
Appridat Solutions, LLC, 801 E Campbell Road, Suite 690,
Richardson, TX 75081                                             7/16/2021      ($10,400.00) Vendor
Wells Fargo Credit Card, 420 Montgomery Street, San
Francisco, CA 94104                                              7/16/2021       ($1,824.00) Business Expenses
                                                                                             401 K ‐ Salary
401K Inc, 29100 Network Place, Chicago, IL 60673‐1291            7/15/2021       ($4,675.60) Contribution
The Guradian Insurance, 10 Hudson Yards, New York, NY
10001                                                            7/15/2021          ($86.39) STD, LTD Insurance
SAIPSIT Inc, 10998 S Wilcrest Dr. Suite # 123, Houston, TX
77099                                                            7/14/2021      ($20,200.00) Vendor
                                                                                             Salaries for June 16 ‐
Sure Payroll, 2350 Ravine Way, Glenview, IL 60025                7/14/2021      ($67,926.08) June 30, 2021
Kwanzatech, Inc, 21801 Northcrest Drive, #337, Spring TX
77386                                                            7/13/2021      ($24,990.00) Vendor
Cloud Factors LLC, 4206 Tanner Woods Lane, Sugar Land,
TX 77479                                                         7/13/2021      ($15,050.00) Vendor
United Software Corporation, 6200 La Calma Dr # 115,
Austin, TX 78752                                                 7/13/2021      ($10,045.00) Vendor
Sure Payroll, 2350 Ravine Way, Glenview, IL 60025                7/13/2021          ($65.23) Services Fee
GETLOB Private Limited,Mythris The Town, F.No. B‐102,
Shaili garden, Yapral ‐ 500087                                   7/13/2021       ($5,115.00) Vendor
Expedien India Private Limited, 91springboard Business
Hub 90B, Delhi – Jaipur Express way, Sector 18, Gurugram,
Harayana – 1220008                                               7/13/2021      ($21,375.00) Vendor
e2Serv Ventures Pvt. Ltd., 204, Chawla Complex, Sector
15, CBD Belapur, Navi Mumbai ‐ 400614                            7/13/2021       ($2,627.00) Vendor
44 Islands Co, 442 Brady Ln, Austin, TX 78746                    7/13/2021      ($28,875.00) Vendor
Wells Fargo, 420 Montgomery Street, San Francisco, CA
94104                                                            7/13/2021          ($45.00) Wire Transfer Fee
Wells Fargo, 420 Montgomery Street, San Francisco, CA
94104                                                            7/13/2021          ($45.00) Wire Transfer Fee
Wells Fargo, 420 Montgomery Street, San Francisco, CA
94104                                                            7/13/2021          ($45.00) Wire Transfer Fee
HUMANA, INC. 500 West Main Street Louisville, Kentucky                                       Dental and Vision
40202                                                            7/12/2021         ($411.17) Insurance
Wells Fargo, 420 Montgomery Street, San Francisco, CA
94104                                                               7/2/2021        ($12.00) Bank Fee
Blue Cross Blue Shield of Texas, 1001 E. Lookout Drive,
Richardson, Texas 75082                                          6/30/2021       ($7,085.38) Health Insurance
                                                                                             401 K ‐ Salary
401K Inc, 29100 Network Place, Chicago, IL 60673‐1291            6/29/2021       ($4,595.60) Contribution
Wells Fargo, 420 Montgomery Street, San Francisco, CA
94104                                                            6/28/2021          ($12.99) Bank Fee




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Creditor's Name and Address                              Date              Amount        Reason
                                                                                         Salaries for June 1 ‐
Sure Payroll, 2350 Ravine Way, Glenview, IL 60025              6/28/2021    ($57,412.54) June 15, 2021
Sure Payroll, 2350 Ravine Way, Glenview, IL 60025              6/25/2021        ($46.44) Services Fee
V3Tech Solutions Inc, 113 Executive Pointe Blvd, Suite
201, Columbia, SC 29210 US                                     6/23/2021    ($11,375.00) Vendor
e2Serv Ventures Pvt. Ltd., 204, Chawla Complex, Sector
15, CBD Belapur, Navi Mumbai ‐ 400614                          6/18/2021     ($3,035.00) Vendor
Wells Fargo, 420 Montgomery Street, San Francisco, CA
94104                                                          6/18/2021        ($45.00) Wire Transfer Fee




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SOFA 4

JRRV, LP
13710 Slate Creek Ln, Houston, TX 77077                      2/8/2021           $   100,000.00      Loan Repayment to JRRV, LP/Promissary Note dated 9/5/19, 11/18/19
                                                            3/15/2021           $   250,000.00      Loan Repayment to JRRV, LP/Promissary Note dated 12/09/19, 12/23/19, 01/01/20, 02/24/20, 12/22/20
Relationship to Debtor ‐ Entity in which Jiten Agarwal is the Manager


QuantAI, LLC
13710 Slate Creek Ln, Houston, TX 77077                   8/19/2021             $    17,700.00      Loan Repayment from November and December 2020. Paid two contractors on behalf of Expedien
                                                                                                           LakePlace Design LLC ‐ $11475 on 11/17/20
                                                                                                                   44 Islands Co ‐ $6225 on 12/2/20

  Relationship to Debtor ‐ QuantAI, LLC is an entity managed by Jiten Agarwal




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Jiten Agarwal                             Amount            Date                Reason
13710 Slate Creek Ln, Houston, TX 77077                                         Salary ‐ Pay Period
                                          $     5,200.00            8/13/2021   07/16 ‐ 07/31/21
                                          $     5,200.00            7/29/2021   07/01 ‐ 07/15/21
                                          $     5,200.00            7/14/2021   06/16‐06/30/21
                                          $     5,200.00            6/28/2021   06/01 ‐ 06/15/21
                                          $     5,200.00            6/11/2021   05/16‐ 05/31/21
                                          $     5,200.00            5/27/2021   05/01 ‐ 05/15/21
                                          $     5,200.00            5/13/2021   04/16 ‐ 04/30/21
                                          $     5,200.00            4/27/2021   04/01 ‐ 04/15/21
                                          $     3,500.00            4/13/2021   03/16‐ 03/31/21
                                          $     5,200.00            3/26/2021   03/01 ‐ 03/15/21
                                          $     5,200.00            3/12/2021   02/16‐02/28/21
                                          $     5,200.00            2/26/2021   02/01 ‐ 02/15/21
                                          $     5,200.00            2/11/2021   01/16‐01/31/21
                                          $     5,200.00            1/27/2021   01/01 ‐ 01/15/21
                                          $     5,200.00            1/13/2021   12/16 ‐ 12/31/20
                                          $     5,200.00           12/28/2020   12/1 ‐ 12/15/20
                                          $     5,200.00           12/11/2020   11/16 ‐ 11/30/20
                                          $     5,200.00           11/25/2020   11/1 ‐ 11/15/20
                                          $     5,200.00           11/10/2020   10/16 ‐ 10/31/20
                                          $     5,200.00           10/23/2020   10/1 ‐ 10/15/20
                                          $     5,200.00            10/9/2020   09/16 ‐ 09/30/20
                                          $     5,200.00            9/25/2020   09/01‐ 09/15/20

Jiten Agarwal
13710 Slate Creek Ln, Houston, TX 77077   Amount            Date                Reason
                                          $        636.38 9/23/2020             Money Advanced to Jiten Agarwal
                                          $     2,446.26 10/16/2020             Money Advanced to Jiten Agarwal
                                          $     1,686.44 11/16/2020             Money Advanced to Jiten Agarwal
                                          $        674.69 11/24/2020            Money Advanced to Jiten Agarwal
                                          $     1,161.42 12/16/2020             Money Advanced to Jiten Agarwal
                                          $        194.28 12/24/2020            Money Advanced to Jiten Agarwal
                                          $     6,401.26 1/19/2021              Money Advanced to Jiten Agarwal
                                          $        172.47 1/25/2021             Money Advanced to Jiten Agarwal
                                          $     2,499.15 2/16/2021              Money Advanced to Jiten Agarwal
                                          $        378.01 2/23/2021             Money Advanced to Jiten Agarwal
                                          $     2,728.21 3/16/2021              Money Advanced to Jiten Agarwal
                                          $        277.87 3/23/2021             Money Advanced to Jiten Agarwal
                                          $     2,936.31 6/14/2021              Money Advanced to Jiten Agarwal




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Rachna Agarwal                            Amount            Date                 Reason
13710 Slate Creek Ln, Houston, TX 77077                                          Salary ‐ Pay Period
                                          $     5,500.00            8/13/2021   07/16 ‐ 07/31/21
                                          $     5,500.00            7/29/2021   07/01 ‐ 07/15/21
                                          $     5,500.00            7/14/2021   06/16‐06/30/21
                                          $     5,500.00            6/28/2021   06/01 ‐ 06/15/21
                                          $     5,500.00            6/11/2021   05/16‐ 05/31/21
                                          $     5,500.00            5/27/2021   05/01 ‐ 05/15/21
                                          $     5,500.00            5/13/2021   04/16 ‐ 04/30/21
                                          $     5,500.00            4/27/2021   04/01 ‐ 04/15/21
                                          $     3,500.00            4/13/2021   03/16‐ 03/31/21
                                          $     5,500.00            3/26/2021   03/01 ‐ 03/15/21
                                          $     5,500.00            3/12/2021   02/16‐02/28/21
                                          $     5,500.00            2/26/2021   02/01 ‐ 02/15/21
                                          $     5,500.00            2/11/2021   01/16‐01/31/21
                                          $     5,500.00            1/27/2021   01/01 ‐ 01/15/21
                                          $     5,500.00            1/13/2021   12/16 ‐ 12/31/20
                                          $     5,500.00           12/28/2020   12/1 ‐ 12/15/20
                                          $     5,500.00           12/11/2020   11/16 ‐ 11/30/20
                                          $     5,500.00           11/25/2020   11/1 ‐ 11/15/20
                                          $     5,500.00           11/10/2020   10/16 ‐ 10/31/20
                                          $     5,500.00           10/23/2020   10/1 ‐ 10/15/20
                                          $     5,500.00            10/9/2020   09/16 ‐ 09/30/20
                                          $     5,500.00            9/25/2020   09/01‐ 09/15/20




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